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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

______________________________________________________________________

RG Golf Warehouse, Inc.,                        Case No. 19-cv-585 (WMW/DTS)

      Plaintiff,

v.                                              ORDER

The Golf Warehouse, Inc.,

     Defendant.
______________________________________________________________________

Bryan Battina, Trepanier MacGillis Battina, P.A., 8000 Flour Exchange Bldg., 310
Fourth Ave. N., Minneapolis, MN 55415, for Plaintiff

Patrick Rooney, Fafinski Mark & Johnson, P.A., Suite 400, 775 Prairie Center Drive,
Eden Prairie, MN 55344, for Defendant


      Oral argument was held in the above matter on February 6, 2020 on Plaintiff’s

Motion to Amend Complaint [Docket No. 36].

      The Court, being duly advised in the premises, upon all of the files, records and

proceedings herein, and for the reasons stated on the record at the hearing, the Court

denies the motion as futile. In sum, District Court Judge Wilhelmina Wright previously

dismissed the claim as time-barred. Plaintiff’s proposed amendment pleads no new

facts and no different conduct. Regardless of how artful the pleading, Plaintiff still

alleges an intentional tort which is governed by the 2-year statute of limitations, which

bars the claim as stated in Judge Wright’s order.

      IT IS HEREBY ORDERED that Plaintiff’s Motion to Amend Complaint [Docket

No. 36] is DENIED.
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Dated: February 6, 2020

                                       s/David T. Schultz
                                       DAVID T. SCHULTZ
                                       United States Magistrate Judge
